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                                                                                     FILED
                                                                         United States Court of Appeals
                           UNITED STATES COURT OF APPEALS                        Tenth Circuit

                                 FOR THE TENTH CIRCUIT                        December 5, 2019
                             _________________________________
                                                                             Elisabeth A. Shumaker
                                                                                 Clerk of Court
  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  KARL CARTER,

         Defendant.

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  DAVID PAXTON ZABEL,

         Objector - Appellant,

  v.                                                             No. 19-3199
                                                       (D.C. No. 2:16-CR-20032-JAR-2)
  FEDERAL PUBLIC DEFENDER,                                         (D. Kan.)

         Movant - Appellee.

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  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  KARL CARTER,

         Defendant.

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  KIM I. FLANNIGAN,
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         Objector - Appellant,

  v.                                                             No. 19-3200
                                                       (D.C. No. 2:16-CR-20032-JAR-2)
  FEDERAL PUBLIC DEFENDER,                                         (D. Kan.)

         Movant - Appellee.

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  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  KARL CARTER,

         Defendant.

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  SCOTT C. RASK,

         Objector - Appellant,

  v.                                                             No. 19-3201
                                                       (D.C. No. 2:16-CR-20032-JAR-2)
  FEDERAL PUBLIC DEFENDER,                                         (D. Kan.)

         Movant - Appellee.

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  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  KARL CARTER,

         Defendant.

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  TERRA D. MOREHEAD,

         Objector - Appellant,

  v.                                                             No. 19-3202
                                                       (D.C. No. 2:16-CR-20032-JAR-2)
  FEDERAL PUBLIC DEFENDER,                                         (D. Kan.)

         Movant - Appellee.

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  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  KARL CARTER,

         Defendant.

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  SHERI CATANIA,

         Objector - Appellant,

  v.                                                             No. 19-3205
                                                       (D.C. No. 2:16-CR-20032-JAR-2)
  FEDERAL PUBLIC DEFENDER,                                         (D. Kan.)

         Movant - Appellee.
                        _________________________________

                                          ORDER
                             _________________________________

 Before TYMKOVICH, Chief Judge, LUCERO, and HARTZ, Circuit Judges.
                  _________________________________

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        Appellants in these related appeals are Assistant United States Attorneys (AUSAs)

 working in the District of Kansas. Following receipt of their docketing statements and

 review of the district order the AUSAs seek to appeal, this court entered a jurisdictional

 show cause order, directing the AUSAs to address whether that order is final and

 appealable and allowing the Federal Public Defender to respond in kind. These matters

 are now before the court on all parties’ responses to the jurisdictional show cause order.

 Upon consideration of the responses, the district court’s docket, and the applicable law,

 the court dismisses these appeals for lack of a final order and thus of jurisdiction as set

 forth in greater detail below.

        The AUSAs seek to appeal the district court’s August 13, 2019 entry of Findings

 of Fact and Conclusions of Law [ECF No. 758] in which, among other things, the district

 court: (1) granted in part and denied in part the Federal Public Defender’s (FPD) Motion

 for Order to Show Cause [ECF No. 301], the FPD’s Supplemental Motion for Order to

 Show Cause [ECF No. 585], and the FPD’s Second Supplemental Motion for Order to

 Show Cause [ECF No. 668]; (2) determined that the Special Master’s investigation into

 Sixth Amendment violations was “collateral to the underlying criminal case” such that

 “civil standards apply to the imposition of sanctions associated with the Government’s

 conduct during the Special Master’s investigation” [ECF No. 758 at 124-25]; (3) held that

 “a compensatory award is in order, either as a remedy for contempt or for abuse of the

 judicial process under the Court’s inherent authority” [id. at 144], but further held that it

 could not “determine from this record the scope of any fees and costs award that should



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 be awarded” [id. at 145]; and (4) directed the FPD to submit an application for attorneys’

 fees and costs, addressing both its entitlement to fees and the amount [id.].

        The FPD has submitted its application for attorneys’ fees and costs to the district

 court [ECF No. 784], and the U.S. Attorney’s office has submitted its response [ECF

 No. 788], arguing, as relevant to the finality of the order the AUSAs seek to appeal:

 (1) the district court orders and Special Master demands upon which the district court

 based its determination of contempt were void [id. at 4-10]; (2) the district court erred in

 its determination of the Findings of Fact and Conclusions of Law underlying the

 contempt determination [id. at 10-22]; and (3) the district court cannot sanction the U.S.

 Attorney’s office for contempt without providing it with advance notice and an

 opportunity to be heard [id. at 22-24]. The district court has yet to rule on the FPD’s

 application.

        Generally, this court’s jurisdiction is limited to review of final decisions. See

 28 U.S.C. § 1291. In keeping with this general principle, “an appeal from the award of

 sanctions may not be taken until the amount has been determined.” See, e.g., Turnbull v.

 Wilcken, 893 F.2d 256, 258 (10th Cir. 1990) (per curiam); see also Collins v. Daniels,

 916 F.3d 1302, 1319 (10th Cir. 2019) (citing Turnbull, 893 F.2d at 258); Charles A.

 Wright, et al., 15B Federal Practice and Procedure § 3915.6 (2d ed. 2019) (“A sanction

 award is not final until the amount has been set.”).

        In the case underlying these appeals, not only has the district court not yet

 determined the amount of sanctions, the U.S. Attorney’s office—in its response to the

 FPD’s fee application—contests the award itself. [See ECF No. 788]. The AUSAs’

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 response to the jurisdictional show cause order acknowledges this jurisdictional defect

 and requests that the court dismiss the appeals without prejudice or stay the appeals

 pending the district court’s disposition of the FPD’s fee application. The FPD’s response

 similarly requests that the court “conclude it lacks jurisdiction over these appeal” or, in

 the alternative, stay the appeals pending the district court’s entry of a final order.

        As all parties acknowledge, the district court’s sanction order is not final “until the

 amount has been determined.” See Turnbull, 893 F.2d at 258; 15B Federal Practice and

 Procedure § 3915.6. In the absence of the entry of a final order, this court lacks

 jurisdiction over these appeals. See 28 U.S.C. § 1291; Turnbull, 893 F.2d at 258.

        APPEALS DISMISSED. The dismissal of these premature appeals will not

 preclude timely appeal from the district court’s entry of a final order.


                                                Entered for the Court
                                                ELISABETH A. SHUMAKER, Clerk



                                                by: Lisa A. Lee
                                                    Counsel to the Clerk




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